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                      United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                          ____________
No. 23-1054                                                     September Term, 2023
                                                                        FERC-ER22-1846-001
                                                                        FERC-ER22-1846-002
                                                                        FERC-ER22-1846-003
                                                                        FERC-ER22-1846-004
                                                           Filed On: March 22, 2024
City Utilities of Springfield, Missouri, et al.,

                  Petitioners

         v.

Federal Energy Regulatory Commission,

                  Respondent


------------------------------

Consolidated with 23-1097, 23-1264,
23-1287, 24-1032, 24-1033


                                             ORDER

       Upon consideration of petitioner Sunflower Electric Power Corporation’s
unopposed motion to govern future proceedings, petitioner Midwest Energy, Inc.’s
unopposed motion to govern future proceedings, and the unopposed motion to govern
future proceedings filed by petitioners City Utilities of Springfield, Missouri, et al., it is

         ORDERED that No. 23-1054 and No. 23-1097 be severed from the remaining
cases, consolidated with each other, and held in abeyance pending further order of the
court. The parties in No. 23-1054, et al., are directed to file motions to govern future
proceedings within 30 days of the issuance of this court’s mandate in No. 23-1264, et
al. It is

         FURTHER ORDERED that the following schedule will apply in No. 23-1264, et
al.:

         Certificate as to Parties, Rulings, and
         Related Cases                                        March 29, 2024

         Docketing Statement                                  March 29, 2024
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                United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                       ____________
No. 23-1054                                                September Term, 2023


      Statement of Issues to be Raised                   March 29, 2024

      Underlying Decision from Which Appeal
      or Petition Arises                                 March 29, 2024

      Certified Index to the Record                      March 29, 2024

      Petitioners’ Joint Opening Brief                   May 24, 2024

      Petitioner-Intervenors’ Joint Opening Brief        June 14, 2024

      Respondent’s Brief                                 August 6, 2024

      Respondent-Intervenors’ Joint Brief                August 27, 2024

      Petitioners’ Joint Reply Brief                     September 26, 2024

      Petitioner-Intervenors’ Joint Reply Brief          September 26, 2024

      Deferred Joint Appendix                            October 10, 2024

      Final Briefs                                       October 24, 2024

     The parties will be informed later of the date of oral argument and the
composition of the merits panel.

      The court reminds the parties that

      In cases involving direct review in this court of administrative actions, the
      brief of the appellant or petitioner must set forth the basis for the claim of
      standing. . . . When the appellant’s or petitioner’s standing is not
      apparent from the administrative record, the brief must include arguments
      and evidence establishing the claim of standing.

See D.C. Cir. Rule 28(a)(7).

       Petitioners should raise all issues and arguments in the opening brief. The court
ordinarily will not consider issues and arguments raised for the first time in the reply
brief.


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                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________
No. 23-1054                                                September Term, 2023

       To enhance the clarity of their briefs, the parties are urged to limit the use of
abbreviations, including acronyms. While acronyms may be used for entities and
statutes with widely recognized initials, briefs should not contain acronyms that are not
widely known. See D.C. Circuit Handbook of Practice and Internal Procedures 43
(2021); Notice Regarding Use of Acronyms (D.C. Cir. Jan. 26, 2010).

        Parties are strongly encouraged to hand deliver the paper copies of their briefs to
the Clerk's office on the date due. Filing by mail may delay the processing of the brief.
Additionally, counsel are reminded that if filing by mail, they must use a class of mail
that is at least as expeditious as first-class mail. See Fed. R. App. P. 25(a). All briefs
and appendices must contain the date that the case is scheduled for oral argument at
the top of the cover. See D.C. Cir. Rule 28(a)(8).


                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Hannah N. Gorman
                                                         Deputy Clerk




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